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                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    ABINGDON DIVISION

         CRIMINAL MINUTES - INITIAL APPEARANCE – COMPLAINT – VIDEO
                                            CONFERENCE

Case No.: 1:20MJ84                       Date: 6/5/20


Defendant: Cole Carini; custody                            Counsel: None


PRESENT:       JUDGE:                    Pamela Meade Sargent TIME IN COURT: 10:00 – 10:20=20 min
               Deputy Clerk:             Ella Surber
               Court Reporter:           Judy Webb
               U. S. Attorney:           Zachary Lee
               USPO:                     Ryan Thayer
               Case Agent:               Neil Schimke
               Interpreter:              N/A


INITIAL APPEARANCE


       Initial Appearance. Defendant(s) advised of right to have an in person hearing. Defendant waives his
       right and wants to proceed. Defendant advised of charges, rights and nature of proceedings.
       Government moves to unseal case. Court grants or denies motion.
       Defendant requests appointment of counsel. CJA 23 to be completed; and if he qualifies, counsel to be
       appointed.
       Defendant to next appear for a preliminary hearing. Hearing to be set when counsel is appointed.
       Government has no objection to defendant being released on bond.
       Deft. released on bond. Bond set at . Appearance bond and Order Setting Conditions of Release to follow.
       Government moves for detention
       Defendant moves for continuance of detention hearing.
       Detention hearing to be set when counsel is appointed .
       Detention hearing held.
       Findings of Fact:
       Deft. remanded to custody. Orders to follow: Temporary Detention Order
